Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 1 of 23 PageID 862




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
 __________________________________________________________________


HM FLORIDA-ORL, LLC,
      Plaintiff
v.                                                 Case No. 6:23-cv-00950
THE STATE OF FLORIDA,
MELANIE GRIFFIN, in her
Official capacity as Secretary of THE
STATE DEPARTMENT OF BUSINESS
AND PROFESSIONAL REGULATION,
STATE OF FLORIDA,


      Defendant.



      PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S
               MOTION FOR SUMMARY JUDGMENT



      Plaintiff HM Florida-Orl, LLC (“HM”) respectfully submits its Response in

Opposition to Defendant’s Motion for Summary Judgment (ECF 56). Defendant’s

Motion for Summary Judgment recycles the same arguments she has unsuccessfully

made before this Court, before the Eleventh Circuit, and before the Supreme Court.

Nothing has changed in the interim, either in the text of the Act or in the body of




                                         1
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 2 of 23 PageID 863




First Amendment caselaw. For the following reasons, this Court should deny

Defendant’s motion.

                               LEGAL STANDARD

      Pursuant to Rule 56(c) of the Federal Rules of Civil Procedure, summary

judgment “should be rendered if the pleadings, the discovery and disclosure

materials on file, and any affidavits show that there is no genuine issue as to any

material fact and that the movant is entitled to a judgment as a matter of law.” Fed.

R. Civ. P. 56(c). District courts must “view all the evidence and draw all reasonable

inferences in favor of the nonmoving party.” Tana v. Datanna’s, 611 F.3d 767, 772

(11th Cir. 2010).

                                    ARGUMENT

I.   HM has Article III Standing to Bring First and Fourteenth Amendment
     Challenges to the Act.

      Hamburger Mary’s has plead facts sufficient to establish Article III standing

to challenge the Act. Plaintiffs in federal court must establish Article III standing by

demonstrating: “(1) an injury in fact that (2) is fairly traceable to the challenged

action of the defendant and (3) is likely to be redressed by a favorable decision.”

Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1245 (11th Cir. 2020) (citing Lujan

v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)); see also Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 159 (2014). The Eleventh Circuit has long recognized that

the injury in fact requirement is applied “most loosely where First Amendment rights
                                           2
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 3 of 23 PageID 864




are involved, lest free speech be chilled even before the law or regulation is

enforced.” Harrell v. The Fla. Bar, 608 F.3d 1241, 1254 (11th Cir. 2010)

(citing Hallandale Prof'l Fire Fighters Local 2238 v. City of Hallandale, 922 F.2d

756, 760 (11th Cir.1991)).

      It is well-settled that an “actual injury can exist when the plaintiff is chilled

from exercising her right to free expression or forgoes expression in order to avoid

enforcement consequences.” Wollschlaeger v. Governor of Fla., 814 F.3d 1159,

1173 (11th Cir. 2015) (quoting Pittman v. Cole, 267 F.3d 1269, 1283 (11th Cir.

2001) (internal quotations omitted)). A plaintiff need not “first expose himself to

actual arrest or prosecution to be entitled to challenge a statute that he claims deters

the exercise of his constitutional rights.” Steffel v. Thompson, 415 U.S. 452, 459

(1974). In the First Amendment context, “self-censorship . . . may be a cognizable

injury-in-fact for standing purposes.” Wollschlaeger, 814 F.3d at 1173.

      HM has suffered a cognizable self-censorship injury because HM has

demonstrated an intention to engage in conduct “arguably proscribed” by the Act.

See Driehaus, 573 U.S. at 159. The Act prohibits, among other things, “lewd

conduct” and “lewd exhibition of prosthetic genitals or breasts,” without providing

definitions for any of these terms. The majority of HM’s performers wear

prosthetics, which are a standard part of drag attire. DE1 at PageID 6 (“Prosthetic

breasts are commonly used by men impersonating women as part of the art.”). And


                                           3
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 4 of 23 PageID 865




while HM does not consider any of its shows to be “obscene,” some of the

performances feature jokes, dances, and innuendo that might not be appropriate for

every child. See Id. at PageID 6-7; see also Id. at PageID 13 (raising concerns that

moderating content to “what is suitable material or conduct for the age of the child

present is too indistinct for the speaker to know what is prohibited.”). Plaintiff’s

30(b)6 witness testified that some of the drag shows at Hamburger Mary’s fall into

the category of R-rated content. DE56-1 at PageID 746:6-9. It is plausible that some

or all of HM’s drag performances could be viewed as violating the Act. HM need

only demonstrate that its conduct is “arguably proscribed” by the statute; it need not

prove conclusively that its conduct is proscribed under the State’s preferred reading

of the statute.

       To establish a credible threat of prosecution, HM must show that “there is at

least some minimal probability that the challenged rules will be enforced if

violated.” Wollschlaeger, 814 F.3d at 1174 (quoting Harrell, 608 F.3d at 1241

(internal citations omitted)). Article III standing requires a credible threat of

prosecution under the Act; a plaintiff need not prove that prosecution is certain. If,

as is the case in this litigation, “the challenged law or rule was recently enacted, or

if the enforcing authority is defending the challenged law or rule in court, an intent

to enforce the rule may be inferred.” Id. (internal citations omitted). Here, as in

Wollschlaeger, “[t]he Act was recently enacted, and the State is defending it, so we


                                          4
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 5 of 23 PageID 866




may infer that there is at least some probability that the Act will be enforced if

violated.” Id. HM has thus established a cognizable self-censorship injury for their

First Amendment and vagueness claims.

 II.   The Act is an Unconstitutional Regulation of Protected Speech

          A. The Act regulates protected speech.

       In an attempt to spare the Act from strict scrutiny, the State claims that the

Act exclusively regulates speech unprotected by the First Amendment because it

“regulated only unprotected speech—speech that is obscene for minors—and places

no burden on speech that is protected for adults.” DE56 at PageID 682. This

disregards a host of Supreme Court precedent that is directly on point.

       “Obscenity” is a legally-defined category of speech that is unprotected by the

First Amendment. Miller v. California, 413 U.S. 15, 24 (1973). The Supreme Court

has only sparingly labeled speech as “obscene.” Most nudity – and much

pornography – does not qualify as obscenity under Miller. Even simulated child sex

abuse materials (“sexually explicit images that appear to depict minors but were

produced . . . using adults who look like minors or by using computer imaging”) do

not inherently cross the line of the Miller test and trigger a strict scrutiny analysis.

See Ashcroft v. Free Speech Coalition, 535 U.S. 234, 239 (2002). Speech that is

“obscene” under Miller is distinct from speech that is merely indecent or offensive.




                                           5
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 6 of 23 PageID 867




“Sexual expression which is indecent but not obscene is protected by the First

Amendment.” Sable Communications of Cal. v. FCC, 492 U.S. 115, 126 (1989).

      Fla. Stat. § 827.11 incorporates an amended version of the Miller standard to

define “Adult live performance:

      (a) "Adult live performance" means any show, exhibition, or other
          presentation in front of a live audience which, in whole or in part, depicts
          or simulates nudity, sexual conduct, sexual excitement, or specific sexual
          activities as those terms are defined in s. 847.001, lewd conduct, or the
          lewd exposure of prosthetic or imitation genitals or breasts when it:

                  1. Predominantly appeals to a prurient, shameful, or morbid
                     interest;

                  2. Is patently offensive to prevailing standards in the adult
                     community of this state as a whole with respect to what is
                     suitable material or conduct for the age of the child present;
                     and

                  3. Taken as a whole, is without serious literary, artistic, political,
                     or scientific value for the age of the child present.

Fla. Stat. § 827.11 (emphasis added). In Ashcroft v. ACLU, 542 U.S. 656 (2004)

(“Ashcroft II”), the Supreme Court considered the constitutionality of the Child

Online Protection Act (COPA), a federal statute enacted to protect children from

exposure to sexually explicit materials on the internet that were “harmful to minors.”

COPA defined “harmful to minors” by adapting the Miller test in a manner nearly

identical to the Act’s definition of “Adult live performance.” Ashcroft II, 542 U.S.

at 661. The Supreme Court found that COPA was a content-based regulation on

protected speech, because the law “effectively suppresses a large amount of speech
                                           6
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 7 of 23 PageID 868




that adults have a constitutional right to receive and address to one another[.]” Id. at

665 (quoting Reno v. ACLU, 542, U.S. 844, 874 (1997). The Court applied strict

scrutiny, and determined that COPA violated the First Amendment. Ashcroft II

conclusively contravenes the notion that the Act proscribes only unprotected speech.

      To support its assertion that the Act regulates only unprotected speech, the

State relies primarily on Ginsberg v. New York, 390 U.S. 629 (1968). Ginsberg is a

pre-Miller case wherein the Supreme Court considered the constitutionality of a New

York state law which prohibited the sale of certain explicit content to minors, such

as pornographic “girlie” magazines. Ginsberg, 390 U.S. at 632. The statute at issue

defined “harmful to minors” by adapting a pre-Miller definition of “obscenity:” Id.

at 646. A bookseller who had been tried and convicted under the statute challenged

the constitutionality of the law under the First Amendment, and the Court upheld the

statute. Id. The State notes that the definition of “harmful to minors” in the Act is

substantially similar to that in Ginsberg; the Florida law adapts the Miller standard

for obscenity to apply to minors, just as the New York law adapted a pre-miller

standard for obscenity to apply to minors. This comparison is technically accurate,

but ultimately irrelevant to the question of whether the Act in this case regulates

protected speech.

      Contrary to the State’s assertion, the Ginsberg Court did not decline to apply

strict scrutiny “because obscenity is not protected expression.” DE 56 at PageID 683


                                           7
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 8 of 23 PageID 869




(quoting Ginsberg, 390 U.S. at 641). Rather, the Court considered whether it was

constitutionally permissible “to accord minors under 17 a more restricted [First

Amendment] right than that afforded to adults to judge and determine what sex

material they may read or see.” Ginsberg, 390 U.S. at 637. The Court answered in

the affirmative, and determined that the New York statute was not “an invasion of

such minors’ constitutionally protected freedoms.” Id. at 638.

      In American Booksellers v. Webb, 919 F.2d 1493, 1501 (11th Cir. 1990), the

Eleventh Circuit analyzed Ginsberg to mean that “[m]inors have no right to view or

in any way consume” sexually explicit materials “obscene as to them,” as defined

by an adapted obscenity standard. Webb, 919 F.2d at1501. The State’s argument

would transform the Ginsberg holding to mean that such materials are legally

obscene, and therefore entirely outside the bounds of the First Amendment.

“Ginsberg did not address the difficulties which arise when the government's

protection of minors burdens (even indirectly) adults' access to material protected as

to them.” Id. The bookseller challenged the law only in so far as it violated the First

Amendment rights of minors under the age of 17, and did not claim that the law

implicated the constitutional rights of adults. Ginsberg, 390 U.S. at 636. “We must

look to other case law and general principles of First Amendment jurisprudence to

discern the constitutional parameters of the government’s power under these

circumstances.” Webb, 919 F.2d at 1501.


                                          8
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 9 of 23 PageID 870




      “The mere fact that a statutory regulation of speech was enacted for the

important purpose of protecting children from exposure to sexually explicit material

does not foreclose inquiry into its validity.” Reno, 521 U.S. at 876. In its efforts to

skirt constitutional scrutiny, the State asks this Court to ignore decades of subsequent

case law explicitly rejecting its arguments. This Court should decline to do so.

      B. The Act is a content-based regulation of protected speech.

      “As a general matter, the First Amendment means that the government has no

power to restrict expression because of its message, its ideas, its subject matter, or

its content.” Ashcroft v. ACLU, 535 U.S. 564, 573 (2002) (“Ashcroft I”). Content-

based regulations on speech are therefore “presumptively unconstitutional,” and

must survive strict scrutiny “regardless of the government’s benign motive” or

“content-neutral justification.” Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015).

A law is content-based when it “‘targets speech based on its communicative content’

– that is, if it ‘applies to particular speech because of the topic discussed or the idea

or message expressed.’” City of Austin v. Reagan Nat’l Adver. of Austin, LLC, 142

S. Ct. 1464, 1471 (2022) (quoting Reed, 576 U.S. 155,163 (2015)).

      The Act prohibits children from viewing “adult live performances” which

feature certain content, such as “nudity, sexual conduct, sexual excitement . . . lewd

conduct, or the lewd exposure of prosthetic or imitation genitals or breasts when it .

. . offends the prevailing standards in the adult community…with respect to what is


                                           9
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 10 of 23 PageID 871




 suitable material…for the age of [a] child present”. Fla. Stat. § 827.11(a). The

 prohibition is defined exclusively by the content of the performance. Therefore, the

 Act is a facially content-based restriction.

        The State argues that “the Act suppresses no protected speech for adults.” But,

 as discussed previously, this is untrue. The Act will force HM to either self-censor

 its performances or close its family-oriented establishment to anyone under the age

 of 18. The Act does not regulate “obscenity” within the meaning of Miller. It

 regulates something more – content the government contends is indecent for

 children, but which is still protected speech for adults. Thus, as a facially content-

 based restriction on protected speech, the Act is subject to strict scrutiny.

        C. Alternatively, the Act was created for an impermissible purpose.

        “Because strict scrutiny applies either when a law is content based on its face

 or when the purpose and justification for the law are content based, a court must

 evaluate each question before it concludes that the law is content neutral and thus

 subject to a lower level of scrutiny.” Reed, 576 U.S. at 167 (citing Ward v. Rock

 Against Racism, 491 U.S. 781, 791 (1989)). If this Court finds that the Act is facially

 content-neutral, but that “an impermissible purpose or justification” underpins the

 law, then the law is still subject to strict scrutiny.

        The text of the Act is “the best indicator of intent.” Nixon v. United States,

 506 U.S. 224, 232 (1993). The text of Fla. Stat. 827.11 demonstrates that the Act


                                              10
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 11 of 23 PageID 872




 was “adopted by the government because of disagreement with the message the

 speech conveys.” Ward, 491 U.S. at 791. While many terms in the Act appear

 elsewhere in the Florida code, “lewd exposure of prosthetic or imitation genitals or

 breasts” is unique to the Act. There are two primary categories of people who wear

 prosthetic breasts: people who have had mastectomies and drag performers. Since

 the Act specifically regulates “any show, exhibition, or other presentation in front of

 a live audience,” the law is obviously targeted at the conduct of performers who

 wear prosthetic breasts. It targets drag performers.

        Governor DeSantis, who signed the Act into law on May 17, 2023, stated just

 before signing the bill that the law was about “adult performances, like these drag

 shows” and described drag as “sexually explicit” and “adult entertainment.”1 While

 HM maintains that the text of the Act is sufficient to demonstrate impermissible

 purpose, statements from the Governor further supports that the Act was adopted by

 the State to target drag, because the State disagrees with the message drag conveys.

 Thus, even if the law is facially neutral, it is still subject to strict scrutiny.

        D. The Act does not survive strict scrutiny because it is not narrowly
           tailored.

        Because the Act is a content-based regulation, it is “presumptively

 unconstitutional” and must pass strict scrutiny. Reed, 576 U.S. at 163; see also


 1
  Full Press Conference: Governor Ron DeSantis signs education bills in Tampa (May 17, 2023)
 at timestamp 8:10, https://www.youtube.com/watch?v=t1kIP2dd2xc
                                              11
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 12 of 23 PageID 873




 Ashcroft I, 535 U.S. at 573. Under strict scrutiny, the government bears the burden

 of proving that the law is narrowly tailored to serve compelling state interests.

 Id. (quoting R.A.V., 505 U.S. at 395); see also Ashcroft II, 542 U.S. at 665. To make

 this determination, “the Court inquires ‘whether the challenged regulation is the least

 restrictive means among available, effective alternatives.’” Friends of Georges, Inc.

 v. Mulroy, No. 2:23-cv-02163-TLP-tmp, 2023 U.S. Dist. LEXIS 96766, *83 (W.D.

 Tenn. June 2, 2023) (quoting Ashcroft II, 542 U.S. at 666).

       First, despite including a “knowledge” requirement, the Act seemingly creates

 a strict liability offense as to the age of the child present. When a crime contains a

 mens rea requirement, as the Act does, absence of mens rea is inherently a defense

 to prosecution. Yet the Act precludes such a defense stating that “[a] person’s

 ignorance of a child's age, a child's misrepresentation of his or her age, or a bona

 fide belief of a child's consent may not be raised as a defense in a prosecution for a

 violation of this section.” Fla. Stat. § 827.11(2). Thus, even with stringent security

 measures and I.D. checks, a person may face criminal prosecution under the Act for

 unknowingly admitting a child to a prohibited performance. The legislature could

 have written the law to require the “willful admission” of a child to a proscribed

 performance, as it has done in the context of liability arising from the sale of alcohol

 to minors. See Fla. Stat. § 768.125. The State offers no explanation whatsoever as to

 why a willfulness requirement as to the child’s age would not suffice in this context.


                                           12
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 13 of 23 PageID 874




       Second, the Act contains no exception for parental consent, which the

 Supreme Court has repeatedly taken issue with. For example, in Ginsberg, 390 U.S.

 629 (1968), the Court upheld a law prohibiting the sale of “girlie magazines” to

 minors under the age of 17, in part because “the prohibition against sales to minors

 does not bar parents who so desire from purchasing the magazines for their

 children.” Id. Relying on the “principle that ‘the parents' claim to authority in their

 own household to direct the rearing of their children is basic in the structure of our

 society,’” the Supreme Court specifically distinguished the contested statute in Reno

 from that in Ginsberg, beginning with the fact that the statute in Reno failed to

 provide a parental consent exception. Reno v. ACLU, 521, 542 U.S at 874.

 Furthermore, the Court found that user-based software which parents could use to

 “prevent their children from accessing material which the parents believe is

 inappropriate” was a sufficient alternative to the criminal statute, even though such

 software was only hypothetical at the time the Court rendered its decision. Id. at 877

 (emphasis original). The Act provides no such limiting language or affirmative

 defenses. If parental monitoring was a sufficient alternative to regulating internet

 pornography, it is certainly a sufficient alternative to regulating the far broader

 category of expression that falls under whatever the State arbitrarily interprets as

 “lewd conduct.”

       As this Court has previously said, other Florida laws, such as Fla. Stat. §


                                           13
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 14 of 23 PageID 875




 847.013(3) regulate the “exposure of minors to ‘harmful motion pictures,

 exhibitions, shows, presentations, or representations.’ That law prohibits the kind of

 obscene material described in Miller and, indeed, the Act here, with the exception

 that it does not incorporate ambiguities like ‘lewd conduct’ or ‘lewd exposure of

 prosthetic or imitation genitals or breasts.’” DE30 at PageID 447 (citing §

 847.013(3)). Critically, however, § 847.013 includes a limiting provision which

 specifically allows for minors of any age to attend such exhibitions if they are

 accompanied by a parent. Fla. Stat. § 847.013(3)(c). The State has offered no

 explanation why parental consent is a suitable exception under § 847.013 but not §

 827.11.

       Finally, the Act differs from the statutes like those in Ginsberg and Webb in

 several other ways. For example, “the statute in Ginsberg only applied to

 commercial transactions, as opposed to the apparent universal application of §

 827.11 to anyone, anywhere—the statute does not define a ‘live performance,’ which

 could conceivably range from a sold-out burlesque show to a skit at a backyard

 family barbecue.” DE30 at PageID 446 (citing Reno, 521 U.S. at 865).

       At the very least, a functional mens rea requirement or parental consent

 exception would be less restrictive means for achieving the State’s interest in

 protecting children from inappropriate material. HM is not required “to introduce,

 or offer to introduce, evidence that [its] proposed alternatives are more effective.


                                          14
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 15 of 23 PageID 876




 The Government has the burden to show they are less so.” Ashcroft II, 542 U.S. at

 669. The government cannot make this showing because it has not chosen the least

 restrictive means of regulating inappropriate content for minors.

III.   The Act is Unconstitutionally Vague

        A law is unconstitutionally vague if it “fails to provide a person of ordinary

 intelligence fair notice of what is prohibited, or is so standardless that it authorizes

 or encourages seriously discriminatory enforcement.” United States v. Williams, 553

 U.S. 285, 304 (2008) (citations omitted). As the district court pointed out, the “void-

 for-vagueness doctrine requires that a penal statute define the criminal offense with

 sufficient definiteness that ordinary people can understand what conduct is

 prohibited and in a manner that does not encourage arbitrary and discriminatory

 enforcement.” DE30 at PageID 448 (quoting Kolender v. Lawson, 461 U.S. 352, 357

 (1983)). Courts are especially concerned with discriminatory enforcement of vague

 statutes. The Supreme Court has held that “legislatures [are required to] establish

 minimal guidelines to govern law enforcement.” Id. at 358. The text of § 827.11 is

 open to numerous interpretations, leaving the Act ripe for discriminatory

 enforcement. See Doc. 30 at 40.

       There are several aspects of § 827.11 that raise vagueness concerns,

 specifically the undefined terms “lewd conduct” and “lewd exposure of prosthetic

 or imitation genitals or breasts.” In an attempt to define “lewd conduct” and “lewd


                                           15
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 16 of 23 PageID 877




 exposure” on behalf of the legislature, the State points to one United States Supreme

 Court case, one Florida criminal law case, and a set of Florida Supreme Court Jury

 Instructions. These proposed definitions only exacerbate the vagueness issue.

       First, the State cites to a fifty-year-old Florida Supreme Court case, which

 defines “lewd” as “an unlawful indulgence in lust, eager for sexual indulgence.”

 Chesebrough v. State, 255 So. 2d 675, 677 (Fla. 1971); Doc. 30 at 40-41.

 Chesebrough again presents a drastically different context from the instant case.

 First, the statute in Chesebrough did not involve government restriction of protected

 speech. It was an as-applied challenge by a defendant accused of knowingly

 exhibiting sexual intercourse to her fourteen-year-old son. The Florida Supreme

 Court “primarily held that this particular egregious act sufficiently fell within the

 bounds of a ‘lewd and lascivious act.’” DE30 at PageID 451. The Florida statute at

 issue in Chesebrough included detailed descriptions of the prohibited conduct,

 including “handl[ing], fondl[ing] or mak[ing] an assault upon any male or female

 child under the age of fourteen years in a lewd, lascivious or indecent manner” and

 “knowingly commit[ting] any lewd or lascivious act in the presence of such

 child, without intent to commit rape.” Fla. Stat. § 800.04. In the context of § 800.04,

 the Florida Supreme Court stated that these terms are “in common use, and the

 definitions indicate with reasonable certainty the character of the acts and conduct”

 prohibited. Chesebrough, 255 So. 2d at 676. The court went on to explain that “when


                                           16
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 17 of 23 PageID 878




 used in a statute to define an offense,” lewd and lascivious can be defined as “an

 unlawful indulgence in lust, eager for sexual indulgence.” Id. at 677. As this Court

 has already noted, “that calculation was understandably less opaque in a case which

 held that sexual intercourse exhibited to a fourteen-year-old was sufficient to

 constitute a ‘lewd and lascivious act’.” DE30 at PageID 450.

       Most critically, this case is from 1971, a time when “lewd and lascivious” may

 very well have been in common use. But “definitions of ‘an unlawful indulgence in

 lust, eager for sexual indulgence,’ do very little to inform a ‘person of ordinary

 understanding [today] … what conduct on his part is condemned’ under Fla. Stat §

 827.11.” DE30 at PageID 451.

       The State also provides two possible definitions that can be found in existing

 Florida law. The first is a jury instruction that defines “lewd” as “wicked, lustful,

 unchaste, licentious, or sensual intent on the part of the person doing an act” (Fla.

 Bar, Criminal Jury Instructions S 11.10(d)). This definition “serves only to further

 broaden the scope of what may be covered by using terms like ‘wicked,’ ‘lustful,’

 and ‘unchaste’ – all vulnerable to broad subjectivity which ultimately leaves an

 individual of common intelligence to ‘necessarily guess at [their] meaning.’” DE30

 (citing Connally, 269 U.S. at PageID 449). Furthermore, this definition is used to

 retroactively categorize the criminal intent of a defendant in a trial context. It is not




                                            17
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 18 of 23 PageID 879




 used in real-time to subjectively describe or analyze evolving, context-specific

 conduct.

       Taken independently or together, citizens of Florida have no meaningful way

 to discern what conduct is prohibited by the Act. Would Taylor Swift’s performance

 of “Vigilante Shit” at the Eras Tour constitute “an unlawful indulgence in lust, eager

 for sexual indulgence”? What about performances by the Miami Dolphins

 cheerleaders? Defining “lewd” to include “wicked, lustful, unchaste, licentious, or

 sensual design on the part of the perpetrator,” sweeps in a range of conduct

 susceptible to discriminatory enforcement. For example, “a fully clothed drag queen

 with cleavage-displaying prosthetic breasts reading an age-appropriate story to

 children may be adjudged ‘wicked’—and thus ‘lewd’—by some, but would not

 constitute the kind of obscene conduct prohibited by the statutes in cases like

 Miller.” DE30 at PageID 451. Similarly, many people have claimed that Taylor

 Swift’s performances in the Eras Tour are witchcraft and adjudged “wicked.”

 Neither of these examples “constitute the kind of obscene conduct prohibited by the

 statutes in cases like Miller.” Id. Rather, they demonstrate how the vague statutory

 language is “dangerously susceptible to standardless, overbroad enforcement which

 could sweep up substantial protected speech[.]” Id.




                                          18
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 19 of 23 PageID 880




 IV.   The Scope of Relief Should Not Be Limited to HM.

       Finally, the State reiterates the same arguments that have already been rejected

 by the 11th Circuit and the Supreme Court. The State puts forward a theory of

 “traditional equitable constraints” that explains how, in the State’s view, the law

 should be. While this makes for an interesting academic exercise, it is not the law.

 The State’s Motion does not meaningfully engage with modern precedent that is

 directly on-point, such as Ashcroft II. The two primary contemporary cases that the

 State cites, United States v. Nat’l Treas. Emps. Union (“NTEU”), 513 U.S. 454

 (1995) and Doran v. Salem Inn, Inc., 422 U.S. 922 (1975) have already been

 analyzed and distinguished from the present case by both the Eleventh Circuit and

 the Supreme Court.

       This Court has found that HM is likely to succeed on the merits of its

 overbreadth claim, because the Act is “dangerously susceptible to standardless,

 overbroad enforcement which could sweep up substantial protected speech[.]” DE30

 at PageID 451-452. It is well-settled in both Supreme Court and Eleventh Circuit

 precedent that a successful facial overbreadth challenge “suffices to invalidate all

 enforcement of th[e] law ‘until and unless a limiting construction or partial

 invalidation so narrows it as to remove the threat or deterrence to constitutionally

 protected expression.’” Hicks, 539 U.S. at 119 (emphasis in original) (quoting

 Broadrick v. Oklahoma, 413 U.S. 601, 613 (1973)); See, e.g., FF Cosmetics Fl, Inc.


                                          19
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 20 of 23 PageID 881




 v. City of Miami Beach, 866 F.3d 1290, 1303-04 (11th Cir. 2017) (relying on

 Broadrick and explaining that enforcement of the overbroad ordinance was “totally

 forbidden” until it was judicially narrowed or partially invalidated); KH Outdoor,

 LLC v. City of Trussville, 458 F.3d 1262, 1273 (2006) (permanent injunction: “Quite

 simply, the district court did not abuse its discretion by enjoining the enforcement

 of section 1.0 of the [billboard] ordinance.”); Clean Up ’84 v. Heinrich, 759 F.2d

 1511, 1512–1514 (11th Cir. 1985) (affirming a district court’s ruling that a Florida

 statute prohibiting the solicitation of signatures on petitions within 100 yards of a

 polling place was facially overbroad and affirming a preliminary injunction

 prohibiting enforcement of the statute).

       The State argues that this “conflates the merits of a legal claim with the scope

 of the remedy for that claim.” DE 56 at PageID 697 (quoting Brasher, J., dissenting

 from denial of partial stay). But the Supreme Court explicitly “provided this

 expansive remedy out of concern that the threat of enforcement of an overbroad law

 may deter or ‘chill’ constitutionally protected speech.” Hicks, 539 U.S. at 119.

 (emphasis added). “Overbreadth adjudication, by suspending all enforcement of an

 overinclusive law, reduces the social costs caused by the withholding of protected

 speech.” Id.

       The overbreadth doctrine is concerned not only with the parties before the

 court, but with a chilling effect on society as a whole. The State asks this Court to


                                            20
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 21 of 23 PageID 882




 require that every person affected by an overbroad restriction on speech litigate the

 issue individually in order to secure their own rights. This impracticality is precisely

 what the overbreadth doctrine seeks to remedy. “Many persons, rather than

 undertake the considerable burden (and sometimes risk) of vindicating their rights

 through case-by-case litigation, will choose simply to abstain from protected speech

 – harming not only themselves but society as a whole, which is deprived of an

 uninhibited marketplace of ideas.” Id.

       Here, genuine issues of material fact exist so that there is sufficient evidence

 for a trier of fact to find for Plaintiff. As such, summary judgment is inappropriate

 in this matter.

                                    CONCLUSION

       For the foregoing reasons, Plaintiff respectfully asks that this Court deny

 Defendant’s Motion for Summary Judgment in its entirety.



                                                Respectfully submitted,

                                                /s/ Melissa J. Stewart
                                                Melissa J. Stewart, Esq. Pro Hac Vice
                                                Brice M. Timmons, Esq. Pro Hac Vice
                                                Craig A. Edgington, Esq. Pro Hac Vice
                                                DONATI LAW, PLLC
                                                1545 Union Ave.
                                                Memphis, TN 38104
                                                (901) 278-1004 – Telephone
                                                (901) 278-3111 – Facsimile
                                                melissa@donatilaw.com

                                           21
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 22 of 23 PageID 883




                                           brice@donatilaw.com
                                           craig@donatilaw.com

                                           Gary S. Israel, Esq. 270709
                                           121 S. Orange Avenue, Suite 1500
                                           Orlando, Florida 32801
                                           407 210-3834
                                           attorneyisrael@hotmail.com
                                           gsi55@hotmail.com
                                           Counsel for Plaintiff




                                      22
Case 6:23-cv-00950-GAP-LHP Document 62 Filed 04/16/24 Page 23 of 23 PageID 884




                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document

 has been served upon all parties to this action via the court’s ECF filing system this

 16th day of April, 2024.

                                               /s/ Melissa J. Stewart




                                          23
